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OAO 245B       NNY(Rev. 1/05) Judgment in a Criminal Case
               Sheet 1



                                         UNITED STATES DISTRICT COURT
                          Northern                                   District of                               New York
          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              V.

               Lorenza Botero-Echeverri                                     Case Number:                    1:00-CR-0292-017
                                                                            USM Number:              61754-004
                                                                            Dennis N. Urbano, Esq.
                                                                            11440 N. Kendall Drive PH-400
                                                                            Miami, Florida 33178
                                                                            Defendant’s Attorney
THE DEFENDANT:
x pleaded guilty to count(s)           15 of the Indictment on November 5, 2004

G pleaded nolo contende re to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of no t guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of O ffense                                                       Offense Ended                Count
18 U.S.C. §§ 201(b)(1)(A)          Bribery of a Public Official                                                04/24/00                   15
and 2




       The defendant is sentenced as provided in pages 2 through                   5       of this judgment. The sentence is imposed in accordance
with 18 U .S.C. § 35 53 and the Sentencing G uidelines.

G The defendant has been found not guilty on count(s)
x Count(s)                         6                        x is     G are dismissed o n the motion o f the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing addre ss until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenda nt must notify the court and U nited States attorney of material changes in eco nomic circumstances.

                                                                            June 13, 2005
                                                                            Date of Imposition of Judgment




                                                                            June 23, 2005
CEB                                                                         Date
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              Sheet 4—Probation
                                                                                                              Judgment—Page       2     of        5
DEFENDANT:                    Lorenza Botero-Echeverri
CASE NUMBER:                  1:00-CR-0292-017
                                                                   PROBATION
The defendant is hereb y sentenc ed to probation for a term of:


             two (2) yea rs



The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 d ays of placem ent on probation and at least two periodic drug tests thereafter, as
determined by the court.

x        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if ap plicab le.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

x        The defendant shall co ope rate in the collection of D NA as directed b y the pro bation officer. (Deselect, if inap plicab le.)

G        The defendant shall register with the state sex offender registration agency in the state where the defendant reside s, works, or is a student,
         as directed b y the pro bation officer. (Check, if app licable.)

G        The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
        If this judgment impo ses a fine o r restitution, it is a cond ition of probation tha t the defendant pay in accordance with the Schedule of
Paym ents sheet of this jud gment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and comp lete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schoolin g, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engag ed in criminal activity and shall not associate with an y perso n convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm ission of the cou rt;
 13)      as directed by the pro bation officer, the defendant shall notify third parties of risks that may be occasio ned by the d efendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement; and
 14)      the defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
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          Sheet 4C — Probation
                                                                                        Judgment—Page   3   of      5
DEFENDANT:               Lorenza Botero-Echeverri
CASE NUMBER:             1:00-CR-0292-017

                                      SPECIAL CONDITIONS OF SUPERVISION




1. If you are deported or otherwise leave the United States, you shall not enter or attempt to enter the United States
without the permission of the Secretary of the Department of Homeland Security. If you re-enter the United States, you
shall report to the probation office in the Northern District of New York within 72 hours.




 DEFENDANT’S ACKNOWLEDGMENT OF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                    Defendant                                                    Date



                    U.S. P robation O fficer/Designated W itness                 Date
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AO 245B   NNY(Rev. 1/05) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                        Judgment — Page       4    of       5
DEFENDANT:                       Lorenza Botero-Echeverri
CASE NUMBER:                     1:00-CR-0292-017
                                            CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                           Fine                                    Restitution
TOTALS           $ 100.00                                             $ 10,000.00                           $



G   The determination of re stitution is de ferred until                  . An Am ended Jud gment in a Crim inal Case (AO 245 C) will
    be entered after such determination.

G   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approxim ately proportioned paym ent, unless spec ified otherwise in
    the priority orde r or percen tage payment column below. However, pursuant to 18 U .S.C. § 366 4(I), all nonfed eral victims must be paid
    before the United States is paid.

Name of Payee                                          Tota l Loss*                   Restitution Ordered                 Priority or Percentage




TOTALS                              $                                         $


G    Restitutio n amo unt ord ered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

G    The cou rt determined that the defendant do es not have the ability to p ay interest and it is ordered that:

     G the interest requirement is waived for the              G fine     G    restitution.

     G the interest requirement for the         G       fine    G     restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    NNY(Rev. 1/05) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                           Judgment — Page      5      of        5
DEFENDANT:                  Lorenza Botero-Echeverri
CASE NUMBER:                1:00-CR-0292-017

                                                        SCHEDULE OF PAYMENTS

Having assessed the de fendant’s ability to pay, payment of the total criminal monetary penalties are due as follow s:

A    x    In full immediately; or

B    G    Lump sum payment of $                             due immediately, balance due

          G     not later than                                   , or
          G     in acco rdance with   G D,        G E,      G      F, or     G G below; or
C    G    Payment to begin immediately (may be combined with               G D,      G    E, or       G   G below); or

D    G    Payment in equal                  (e.g., weekly, mo nthly, quarterly) installm ents of $                        over a period of
                      (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

E    G    Payment in equal                   (e.g., weekly, mo nthly, quarterly) installm ents of $                      over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    G    Special instructions regarding the paym ent of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary pena lties is due during
imprisonme nt. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Resp onsibility Program, are made to Lawrence K. Baerman, Clerk, U.S. District Court, Federal Bldg., P.O. Box 7367, 100 S. Clinton
Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation officer, or the United S tates attorney. If a victim
cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim
is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     Defendant and Co-De fendant Names and Case N umbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.



G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the follow ing pro perty to the United S tates:

Paym ents shall be applied in the following ord er: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) comm unity restitution, (7) penalties, and (8) costs, including co st of prosecution and court costs.
